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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


    THE BEAUTIES AND THE BRANDS, LLC,

          Plaintiff,

    v.                                           CASE NO. 8:23-cv-821-SDM-TGW

    BLUSH BAR TAMPA, LLC,

          Defendant.
    ___________________________________/

                                          ORDER

          The defendant moves (Doc. 70) to amend the pleading. The motion is

    GRANTED. IN A SINGLE PAPER, THE DEFENDANT MUST FILE AN

    AMENDED PLEADING THAT CONTAINS THE DEFENDANT’S ANSWER

    AND ANY COUNTERCLAIM. No later than twenty-one days after the defendant

    files an amended pleading, the plaintiff may respond. The motion (Doc. 72) for a de-

    fault, the motion (Doc. 74) to dismiss the defendant’s counterclaims, and the motion

    (Doc. 75) to extend the time within which the plaintiff may respond to the defend-

    ant’s counterclaims are DENIED AS MOOT.

          ORDERED in Tampa, Florida, on December 29, 2023.
